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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

TARA HALL AS PERSONAL                         )
REPRESENTATIVE OF THE                         )
ESTATE OF MARCEL THEO HALL,                   )
and derivatively on behalf of Biz             )
Markie, Inc.,                                 )   No. 1:22-cv-00806
                                              )
               Plaintiff,                     )
       vs.                                    )
                                              )
BIZ MARKIE, INC. AND JENNIFER                 )
IZUMI,                                        )

               Defendants.

                        JOINT MOTION FOR EXTENSION OF TIME
                            TO FILE JOINT DISCOVERY PLAN

       Pursuant to the Court’s Scheduling and Procedure Order (ECF No. 21), Plaintiff Tara Hall

and Defendants Biz Markie, Inc. and Jennifer Izumi (the “Parties”) respectfully request that this

Court grant an extension of time to file their Joint Discovery Plan until Friday, October 14, 2022.

In support of this Joint Motion, the Parties state as follows:

   1. On September 2, 2022, the Parties held a scheduling conference with this Court, which
      then issued a Scheduling and Procedures Order (ECF No. 21), which requires the Parties
      to submit a Joint Discovery Plan on or before Friday, September 30.

   2. The Parties make this request due to recently scheduled travel obligations that preclude
      counsel from meeting to draft the Joint Discovery Plan by the September 30 deadline.

   3. This is the first request for an extension of time by either Party related to submission of the
      Joint Discovery Plan.

   4. The requested extension would not impact any other previously set deadlines within the
      Scheduling and Procedures Order, as discovery has not yet commenced and the deadline
      for completion of discovery and filing of all discovery-related motions is May 12, 2023.

   5. No proposed schedule is necessary as part of this Motion, as no previously set deadlines
      would be affected by the requested extension.




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   6. On September 26, 2022, Defendants’ counsel contacted Plaintiff’s counsel by email as
      required by, and in compliance with, LCvR 7(m) to determine whether there is any
      opposition to the relief sought in this Motion. Plaintiff’s counsel replied and agreed to file
      this Joint Motion.

       WHEREFORE, the Parties respectfully request that the Court grant an extension of

fourteen days, or until Friday, October 14, 2022, for the Parties to file their Joint Discovery Plan.

                                    Certification Pursuant to LVcR 7(m)

       With this Joint Motion, counsel for the Parties hereby certify that on September 26, 2022,

Defendants’ counsel contacted Plaintiff’s counsel by email as required by, and in compliance with,

LCvR 7(m) to determine whether there is any opposition to the relief sought in this Motion.

Plaintiff’s counsel replied and agreed to file this Consent Motion.

       Respectfully submitted this 26th day of September, 2022.


/s/Alan S. Clarke___________                          /s/William R. Martin___________
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/s/ Stephanie L. Varela                               /s/ Dayna Cooper
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                                                      Attorneys for Defendants
Attorneys for Plaintiff Tara Hall                     Biz Markie, Inc. and Jennifer Izumi




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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 26, 2022, a copy of the foregoing Motion for Extension

of Time will be served on counsel of record by operation of the Court’s ECF filing system.



                                                Respectfully submitted,

                                                /s/ William R. Martin




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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 TARA HALL AS PERSONAL
 REPRESENTATIVE OF THE ESTATE
 OF MARCEL THEO HALL

        Plaintiff,                                    CASE NO: 1:22-cv-00806-CKK

 vs.

 BIZ MARKIE, INC. and JENNIFER
 IZUMI

        Defendants.

  ]PROPOSED] ORDER GRANTING JOINT MOTION FOR EXTENSION OF TIME
                  TO FILE JOINT DISCOVERY PLAN

       Upon review and consideration of the Parties’ Joint Motion for Extension of Time to File

Joint Discovery Plan, the Court GRANTS the Motion.


SO ORDERED,

Dated: ___________________, 2022

                                                          ____________________________
                                                          U.S. District Court Judge
                                                          Honorable Colleen Kollar-Kotelly




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